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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

                         ORDER GRANTING CONTINUANCE OF DEPOSITION

            Upon the emergency motion of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor” or

“MtGox”) [Dkt. No. ___] (the “Motion”), seeking continuance of the Bankruptcy Deposition 1

currently set for April 17, 2014 to May 5, 2014; and upon hearing on the Motion; and the Court

having determined that the relief requested in the Motion is in the best interests of the Debtor, its

estate, its creditors, and other parties in interest; and it appearing that proper and adequate notice

of the Motion has been given and that no other or further notice is necessary; and upon the record




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    All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.



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herein; and after due deliberation thereon; and good and sufficient cause appearing therefor, it is

hereby

         ORDERED, ADJUDGED AND DECREED that:

         1.    The Motion is GRANTED.

         2.    The Bankruptcy Deposition is hereby continued to May 5, 2014 at 9:30 a.m.

(Prevailing Central Time), in the offices of Baker & McKenzie LLP, 2300 Trammell Crow

Center, 2001 Ross Avenue, Dallas, Texas 75201, unless otherwise agreed upon in writing by

Karpeles, CoinLab, Inc., Gregory Greene and Joseph Lack.

         3.    Petitioner shall serve copies of this Order upon the Notice Parties via electronic

mail.

         4.    Service pursuant to this Order shall be good and sufficient service and adequate

notice of the continuance of the Bankruptcy Deposition.

                                  # # # END OF ORDER # # #




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Prepared and submitted by:

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